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AO 442 (Rev. 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Colorado
United States of America )
v.
) A_- MNT
)  CaseNo. /P - fF ~WORO ~My
NICHOLAS WALKER
Defendant
ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) NICHOLAS WALKER

who is accused of an offense or violation based on the following document filed with the court

O Indictment O Superseding Indictment

0 Information
O Probation Violation Petition

o Superseding Informatiog® a Cin lait
© Supervised Release Violation Petition

This offense is briefly described as follows:

in violation of Title 18, United States, Code, Section 2113(a)

Bank Robbery : te OTE
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Date: 4 L we ny zete Ar Yo Ms | heard.
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. MICHARL” WATANABE
City and state: Denver, Colorado U-S-MAGISTRATE JUDGE
DISTRICT OF COLORADO
Return
This warrant was received on (date) , and the pe UNERBCUTED PER:
at (city and state) : .
wee Cust Appearance

ore rcv
amen Yr.

H> ZO

DATE
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